
723 S.E.2d 539 (2012)
STATE of North Carolina
v.
Billy Ray KEEL.
No. 17P12.
Supreme Court of North Carolina.
March 8, 2012.
Daniel F. Read, Durham, for Keel, Billy Ray.
Kimberly Grande, for State of North Carolina.
W. Clark Everett, District Attorney, for State of North Carolina.

ORDER
Upon consideration of the petition filed on the 12th of January 2012 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 8th of March 2012."
